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                   Exhibit A
          Case 1:20-cv-11862-IT Document 373-1 Filed 11/09/23 Page 2 of 2




                           IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 KAREN MORALES POSADA, AMANDA
 SARMENTO FERREIRA GUIMARAES,
 WILLIANA ROCHA, and SARA
 BARRIENTOS, individually and on behalf of
 all others similarly situated,

                           Plaintiffs,                                No. 1:20-cv-11862-IT

              v.

 CULTURAL CARE, INC.,

                           Defendant.


        [PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO FILE REPLY

         Having considered Defendant’s Motion dated November 9, 2023, it is hereby ORDERED

that:

         1.        Defendant is granted leave to file a reply in support of Defendant’s Motion to

Compel Arbitration (Dkt. 309) of no more than 10 pages (excluding any table of contents or table

of authorities and any supporting materials) by no later than December 8, 2023.

         2.        Any such reply shall state in the caption that leave to file was granted on this date.



SO ORDERED on this ___ day of November, 2023.

                                                                 _____________________________

                                                                 Judge Indira Talwani
                                                                 United States District Judge
